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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
                                                      §
VS.                                                   §             NO. 3-93-CR-285-R(09)
                                                      §
JOSE I. ZAPATA                                        §
                                                      §
               Defendant.                             §


                       FINDINGS AND RECOMMENDATION OF THE
                          UNITED STATES MAGISTRATE JUDGE

       Defendant Jose I. Zapata, appearing pro se, has filed a motion for relief from judgment

pursuant to Fed. R. Civ. P. 60(b). For the reasons stated herein, the motion should be treated as a

second motion to correct, vacate, or set aside sentence and dismissed pending review by a three-

judge panel of the court of appeals.

                                                      I.

       Defendant was indicted by a federal grand jury on: (1) two counts of conspiracy to sell,

distribute, or dispense cocaine and marijuana in violation of 21 U.S.C. § 846; (2) four counts of

unlawful use of a communication facility in a drug trafficking crime in violation of 21 U.S.C.

§ 843(b); and (3) one count of money laundering in violation of 18 U.S.C. § 1956(a)(1)(A)(i).

Following a lengthy jury trial, defendant was convicted on all but one count of the indictment.1

Punishment was assessed at life imprisonment and a $10,000 fine. His conviction and sentence were

affirmed on direct appeal. United States v. Zapata, No. 94-10410, 84 F.3d 431 (5th Cir. Apr. 4,

1996) (Table), cert. denied, 117 S.Ct. 163 (1996). Defendant also filed a motion to correct, vacate,



       1
           Defendant was acquitted on one count of unlawful use of a communication facility.
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or set aside his sentence pursuant to 28 U.S.C. § 2255, a Rule 60(b) motion for relief from judgment,

and an application for writ of habeas corpus pursuant to 28 U.S.C. § 2241. All three motions were

denied. United States v. Zapata, No. 3-97-CV-0916-R (N.D. Tex. Jun. 12, 1998), COA denied, No.

98-10819 (5th Cir. Jul. 28, 1999) (section 2255 motion); United States v. Zapata, No. 3-93-CR-285-

R (N.D. Tex. May 2, 2000) (Rule 60(b) motion); Zapata v. Purdy, No. C-01-CV-120 (S.D. Tex. Jan.

11, 2002), aff'd, 51 Fed. Appx. 929, 2002 WL 31415245 (5th Cir. Oct. 10, 2002). The Fifth Circuit

previously denied leave to file a successive section 2255 motion. In re Zapata, No. 00-10937 (5th

Cir. Oct. 18, 2000).

         Undeterred, defendant now argues that the district court lacked subject matter jurisdiction

because the indictment failed to specify the amount of drugs involved in the conspiracy. Because

of this jurisdictional defect, defendant maintains that the judgment in his criminal case should be set

aside.

                                                  II.

         The court initially observes that defendant may challenge his conviction and sentence only

in a section 2255 motion. See United States v. Rich, 141 F.3d 550, 551 (5th Cir. 1998), cert. denied,

119 S.Ct. 1156 (1999) (motions brought by federal prisoners under Rule 60(b), but which essentially

seek to set aside their convictions on constitutional grounds, may be treated as section 2255 motion);

United States v. Olivares, No. 3-98-CR-385-H, 2002 WL 1822944 at *1 (N.D. Tex. Aug. 6, 2002)

(Kaplan, J.) (treating Rule 60(b) motion in criminal case as successive section 2255 motion).

Because defendant already has sought post-conviction relief, the court must determine whether he

can bring this action without prior approval from the court of appeals.

         The Antiterrorism and Effective Death Penalty Act of 1996 limits the circumstances under

which a federal prisoner may file a second or successive motion for post-conviction relief.
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ANTITERRORISM AND EFFECTIVE DEATH PENALTY ACT, Pub.L. 104-132, 110 Stat. 1214 (1996). A

defendant must show that the successive motion is based on: (1) newly discovered evidence that,

if proven and viewed in light of the evidence as a whole, would be sufficient to establish by clear

and convincing evidence that no reasonable factfinder would have found him guilty of the offense;

or (2) a new rule of constitutional law, made retroactive to cases on collateral review by the Supreme

Court, that was previously unavailable. 28 U.S.C. § 2255. This determination must be made by a

three-judge panel of the court of appeals before defendant files a successive motion in district court.

28 U.S.C. §§ 2241 & 2255.

        The Fifth Circuit has not issued an order authorizing the district court to consider this

successive motion. Defendant must obtain such an order before another motion for post-conviction

relief is filed.

                                      RECOMMENDATION

        Defendant's motion for relief from judgment should be treated as a second motion to correct,

vacate, or set aside sentence and dismissed without prejudice pending review by a three-judge panel

of the court of appeals.

        A copy of this report and recommendation shall be served on all parties in the manner

provided by law. Any party may file written objections to the recommendation within 10 days after

being served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b). The failure to file

written objections will bar the aggrieved party from appealing the factual findings and legal

conclusions of the magistrate judge that are accepted or adopted by the district court, except upon

grounds of plain error. See Douglass v. United Services Automobile Ass'n, 79 F.3d 1415, 1417 (5th

Cir. 1996).
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